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                                                                                             FILED

                                    UNITED STATES DISTRia COURT FOR
                                    THE EASTERN DISTRia OF VIRGINIA
                                             Norfolk Division                         CLERK, U.S. DISTRICT COURT
                                                                                           .^NORFOLK. VA




  THOMAS F. MCCOY

           Pro Se Petitioner,

                                                                        riminalCase No. 2:03-cr-197-RAJ-6

                                                                        ivii Case No.2:16-cv-384

                                                                       Cir^^Wp. 17-6004
                                                                    ^^lemency Case No.[ C184251]
  UNiTED

           Respond^^^^

  RE:              MOTION FOR THE COURT TO UNDERTAKE JUDICIAL NOTICE REGARDING

                                PROPOSED RECONSIDERATION OF JUDGEMENT.




           NOW COMES Thomas F. McCoy (herein after "Petitioner")* proceeding pro se, humbly moves
  this Honorable Court to undertake Judicial Notice and reconsider the current judgement in this case.
  Wherein, a reduction of sentence Is warranted by extraordinary and compelling reasons. Specifically the
  injustice of facing a term of incarceration two hundred (216) months longer than Congress now deems
  warranted for a "second or subsequent count of conviction" under section 924(c). The Petitioner herein
  asks the Honorable Judge Raymond Jackson to respond to this unique opportunity to reduce his
 sentence from the current three hundred (300) months for count 48, to the congressionally Intended
  eighty-four(84) months. The FIRST STEP Act Section 603(B), now allows Federal Courts to directly
  reduce sentences under the statutory provisions of Title 18 U.S.C. 3S82(c)(l)(A}.


                                              INTRODUCTION


           The Petitioner was 19 years of age when arrested October 3,2003, and indicted for this current
 conviction and sentence. A first-time offender, and sentenced In Criminal History Category I. On March
 24,2004, Petitioner was convicted, In relevant part, of count Nine for eighty-four(84) months and count


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  Forty-Eight for(300 months), both charging a "stacked" penalty of three hundred and eight-four(384)
  months for the use of a firearm during and In relation to a crime of violence in violation of Title 18 U.S.C.
  Section 924(c)(1)(A)& (c)(1)(C).[See Exhibit E-3-Statement of Reasons]
            Moreover,The FIRST STEP Act (P.L. 115-391)signed into law by the President on December 21,
  2018, among many other things, amended Title 18 U.S.C. Section 924(c)(1)(C). In Section 403 of the Act,
  Congress amended Section 924(c)(1)(C) so a consecutive term of 25 years or three hundred (300)
  months for a second or subsequent conviction for possession of a firearm during a crime of violence is
  no longer mandated if the crime was committed before a prior conviction under the subsection was
  final. This was so because in Deai v. United States. 508 U.S. 129(1993), the Supreme Court held that,
  even when multiple counts under section 924(c) were in the same indictment, the conviction on the first
  count did not have to be final before the mandatory increases and stacking provisions were triggered.
  This amendment would have benefited the Petitioner If it had been In effect at the time of his
  sentencing. Section 403 of the First Step Act also provides: This section, and the amendments made by
 this section, shall apply to any offense that was committed before the date of enactment of this Act, if a
 sentence for this offense has not been imposed as of the date of enactment." limiting this Court, with no
 authority to apply Section 403 of the First Step Act to reduce the Petitioner's sentence retroactively
 (citing United States v.Urkevich.(No.8:03CR37), 2019 WL 6037391(D. Neb. Nov. 14,2019))See United
 States vs. Maumau. 08-cr-00758(D. Utah Feb. IB 2020):Cantu-Rivera. l:05-CR-458-l, 2019 WL 2498923
 at *2(S.D. Tex. June 17,2019); Brown 4:05-CR-00227-l, 2019 WL 4942051 at *3(S.D. iowa Oct. 8,
 2019);.
          While most young men would be crushed under the weight of serving a 3S-year sentence, the
 Petitioner was different. Instead of acting out in violence, drug abuse or approaching prison with a
 "what is the point" attitude, the Petitioner struggled emotionally In the beginning of this sentence in the
 Federal Bureau of Prisons("BOP") but as he matured and applied himself, available prison records
 reflect an extraordinary record of rehabilitation. That record Includes a sterling prison conduct, 3
 discipline infractions(non violent or drug related), constant employment and a member of the suicide
 watch cadre for a period of time. Thus, to promote respect for standing law, this Petition for
 Compassionate Release from a (300 month)sentence for count Forty-Eight is now deemed harsh and
 unwarranted by Congress be modified to a correct(84 months).

  Brief History

           Petitioner was born January 9,1984 at Virginia Beach General Hospital to Thomas and
  Cassandra McCoy Jr. It was his grandparents Thomas and Undine McCoy Senior that get the credit for
  raising me. They took custody of him at the age of 7 Including Petitioner's older sister due to my
  parent's substantial drug addiction. Thomas Sr.(my grandfather) was an amazing man; he spent quality
  time with him and took him every where including his occupation of residential electrical work. He
  would also take the young Petitioner with him to visit his friends. He was the Petitioner's Idoll
  Unfortunately, he got very sick while he was young. Once he lost his health. Petitioner's little world
  changed drastically. At that point, he was no longer seeing the State provided therapist while not having
  his parents began affecting him emotionally. There were a few things he taught the young Petitioner
  and expected from me before dementia caused him to completely lose memory of who he was. The
  Petltoner remember sitting on his grandfather's lap and hearing him explain how much he loved him
  and needed him to take care of his grandfather's wife and family because he was sick. He asked the
  young Petitioner could I handle that, and he said "yes Sir," It's almost laughable looking back at that
  moment,(being an 11 year old child) believing it was his responsibility to take care of a grown woman
 and a family.


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           The Petitioner was committed to taking care of his grandfather(washing, grooming, dressing,
  caring, etc....) throughout attending Kempsvllle Middle and Tallwood High School. Eventualiy his sister
  Christy McCoy became a single mother of an amazing little boy, being this little boy's Uncle gave him a
  chance to be the parent figure he always wanted. He did the best he couid, keeping his grades above
  average, playing multiple sports, and maintaining a job to assist with the bills. This was his lifestyle until
  he went to college at Saint Augustine University in Raleigh, North Carolina. The Petitioner remembers
  calling home repeatedly white away at college and hearing his grandmother speak of outstanding bills
  while having to care for my grandfather. His sister also struggled raising his nephew,feeling guilty and
  obligated after going away to school but not being able to help them. That Is when the Petitioner made
  the first of an episode of terrible decisions, in which he is still paying for to this very day.
            Many years ago he apologized to his family for his actions and disappointment. They all forgave
  him in seconds, but it wasn't that easy to forgive him. I did consider the advice of a peer back then
  which got me into this situation, but the Petitioner says; in his heart he knew my actions were wrong.
  The psychological burden carried, being ashamed and hurt by the decisions of his parents which
  prevented them from being in his life was almost unexplainable. The Irony Is now; the Petitioner has
  nephews and a niece whom are in college, graduating high school, and experiencing this ambiguous
  world as he has damaged them just the same. These past one hundred and ninety*seven (197) months
  In prison have been humbling for the Petitioner. His Mentor and close friend, Mr. William R. Brown once
 told him many years ago,'7homas, I know you deserve another chance, but before we can convince
 someone else of this, you have to believe this yourself..." This was another parable to the Petitioner at
 the time, but he knew It meant he needed to begin investing in a future. This Investment began in 2008
 as you will be able to see in his "Education History" and payments toward my restitution order. Please
  review the Exhibits Included for records.


                                                 JURISDICTION


  I. THIS COURT HAS AUTHORITY TO RESENTENCE PETITIONER UNDER SEQION 3582(C)(l)(a)(i) FOR
      THE EXTRAORDINARY AND COMPELLING REASONS PRESENTED HEREIN.



           With changes made to the compassionate release statute by the First Step Act, courts need not
  await a motion from the Director of the BOP to resentence prisoners to time served under 18 U.S.C.
  Section 3582(c)(l)(A)(i)for "extraordinary and compelling reasons," and the reasons that can justify
  resentencing need not involved only medical, elderly, or family circumstances.
           A        When Congress originally enacted Section 3582 in 1984, it Intended for district courts to
  reduce sentences for prisoners on the basis of extraordinary and compelling reasons not limited to
  medical, family, or elderly circumstances.
           Congress first enacted the modern form of the compassionate release statute contained in 18
  U.S.C. Section 3582 as part of the Comprehensive Crime Control Act of 1984. Section 3582(c) states that
  a district court can modify even a final "term of"imprisonment" in four situations, the broadest of which
  is directly relevant here. A sentencing court can reduce a sentence if and whenever "extraordinary and
  compelling reasons warrant such a reduction." 18 U.S.C. Section 3582(c)(l)(A)(i). In 1984, Congress
  conditioned the reduction of sentences on the BOP Director filing an initial motion In the sentencing
  court; absent such a motion, sentencing courts had no authority to modify a prisoner's sentence for
  extraordinary and compelling reasons.
           Congress never defined what constitutes an "extraordinary and compelling reason" for
  resentencing under Section 3582(c). But the legislative history gives an indication of how Congress

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  thought the statute should be employed by federal courts. One of the Congress's initial goals in passing
  the Comprehensive Crime Control Act was to abolish federal parole and create a "completely
  restructured guidelines sentencing systems." S.Rep No. 98-225, at 52,53 n.74 (1983). Yet, recognizing
  that parole historically played a key role in responding to changed circumstances, the Senate
  Committee stressed how some individual cases may still warrant a second look at resentencing:
          The Committee believes that there may be unusual cases in which an eventual reduction in the
  length of a term of imprisonment is justified by changed circumstances. These would include cases of
  severe illness, cases in which other extraordinary and compelling circumstances Justify a reduction of an
  unusually long sentence, and In some cases in which the sentencing guidelines for the offense of which
  the defender was convicted have been later amended to provide a shorter term of imprisonment.
          id. At 55, 56(emphasis added). Rather than having the Parole Commission review every federal
  sentence focused only on the offender's rehabilitation. Congress decided that Section 3582(c) could and
  would enable courts to decide, in individual cases, if "there is a Justification for reducing a term of
  imprisonment." Id. At 56, Congress Intended for the situations listed in Section 3582(c) to act as "safety
  valves for modification of sentences,"Id. At 121, that enabled sentence reductions when justified by
  various factors that previously could have been addressed through the(now abolished) parole system.
  This particular safety valve would "assure the availability of specific review and reduction to a term of
  imprisonment for "extraordinary and compelling reasons" and [would allow courts] to respond to
  changes in the guidelines." Id. noting that this approach would keep "the sentencing power in the
  Judiciary where it belongs," rather that with a federal parole board,the statute permitted "later review
  of sentences in particularly compelling situations." Id.(emphasis added).
          Congress thus intended to give federal sentencing courts an equitable power that would be
  employed on an individualized basis to correct fundamentally unfair sentences. And there is no
  indication that Congress limited the safety of Section 3532(c)(1)(A) to medical or elderly release; if
  extraordinary and compelling circumstances were present, they could be used to "justify a reduction of
  an unusually long sentence." S. Rep No. 98-225,at 55,56.
          B       The U.S. Sentencing Commission concluded that Section 3582(c)(l)(A)'s extraordinary
  and compelling reasons" for compassionate release are not limited to medical, elderly, or family
 circumstances. Congress initially delegated the responsibility for determining what constitutes
 "extraordinary and compelling reasons" to the U.S. Sentencing Commission be considered extraordinary
 and compelling reasons for sentence reduction. Including the criteria to be applied and a list of specific
 examples."). Congress provided only one limitation to that delegation of authority: "(rjehabilitation of
 the defendant alone shall not be considered an extraordinary and compelling reason." 28 U.S.C. Section
 994(t)(emphasis added). Congress no doubt limited the ability of rehabilitation alone to constitute
  extraordinary circumstances so that sentencing courts could not use It as a full and direct substitute for
  the abolished parole system. Congress, however, contemplated that rehabilitation could be considered
  with other extraordinary and compelling reasons sufficient to resentence people in individual cases.
  Indeed,the use of the modifier "alone" signifies Just the opposite: that rehabilitation could be used In
  tandem with other factors to justify a reduction. The Commission initially neglected Its duty, leaving the
  BOP to fill the void and create the standards for extraordinary and compelling reasons warranting
  resentencing under Section 3582(c)(1)(A).
         2       The Commission finally acted in 2007, promulgating a policy that extraordinary and
 compelling reasons includes medical conditions, age, family circumstances, and "other reasons."
 U.S.S.G. Section 1B1.13, application note 1(A). After a negative DOJ Inspector General report found that
 the BOP had rarely moved courts for a Section 3582(c)(1)(A) modification even for prisoners who met
 the objective criteria, see U.S. Dept. of Justice Office of the Inspector General, The Federal Bureau of
 Prisons' Compassionate Release Program (Apr. 2013)("FBOP Compassionate Release Program"),the
 Commission amended ins policy statement,expanding the guidance to courts on qualifying conditions

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 and admonishing the BOP to file motions for compassionate release whenever a prisoner was found to
 meet the objective criteria in U.S.S.G. Section 181.13. Id. At application note 4: see also United States v.
 Dimasi. 220 F. Supp. 3d 173,175(D. Mass. 2016)(discussing the progression from the GIG report to new
 "encouraging" guidelines). BOP promulgated policies governing compassionate release. The latest
 version prior to passage of the First Step Act was Program Statement.49, Compassionate
  Release/Reduction in Sentence(Mar. 25,2015).
          The Commission created several categories of qualifying reasons:(A)"Medical Conditions of the
  Defendant,"including terminal illness and other serious conditions and impairments;(B)"Age of the
  Defendant," for those 65 and older with serious deterioration related to aging who have completed at
  least 10 years or 75 percent of the term of imprisonment;(C)"Family Circumstances," where a child's
  careglver or spouse dies or becomes incapacitated without an alternative careglver; and (0)"Other
  reasons," when the Director of the BOP determines there is "an extraordinary and compelling reason
 other than, or in combination with, the reasons described in subdivisions(A)through (C)." Id.,
 application note 1(A). The Commission also clarified that the extraordinary and compelling reasons
 "need not have been unforeseen at the time of sentencing or order to warrant a reduction in the term
 of Imprisonment." U.S.S.G. Section 1B1.13, application note 2. In other words, even If an "extraordinary
 and compelling reason reasonably could have been known or anticipated by the sentencing court,(that
 fact] does not preclude consideration for a (sentence] reduction." Id.
          Consistent with the text and legislative history of Section 3582(c}, the Commission concluded
 that reasons beyond medical, age, and family circumstances could qualify as "extraordinary or
 compelling reasons" for resentencing, and that the extraordinary or compelling reasons needs not be
 based on changed circumstances occurring after the initial sentencing of the defendant.
          C        Through the First Step Act, Congress changed the process for compassionate release
 based on criticism of BOP's inadequate use of its authority, returning to the federal judiciary the
 authority to act on its own to reduce sentences for "extraordinary and compelling reasons." Prior to
 Congress passing the First Step Act, the process for compassionate release under Section 3582(c)(1)(A)
 as follows: the U.S. Sentencing Commission set the criteria for resentencing relief under Section 3582(c),
 and the only way a sentencing court could reduce a sentence was if the BOP Director Initiated and filed
 a motion in the sentencing court. See PL98 473(HJ Res 648), PL. 98 473, Stal 1837(Oct. 12,1984). If
 such a motion was filed, the sentencing court could then decide where "the reduction was justified by
 'extraordinary and compelling reasons' and was consistent with applicable policy statements issued by
 the Sentencing Commission." id. So even If a federal prisoner qualified under the Commission's
 definition of extraordinary and compelling reasons, without the BOP Director's filling a motion, the
 sentencing court had no authority to reduce the sentence, and the prisoner was unable to secure a
 sentence reduction. This process meant that, practically, the BOP Director both initiated the process and
 set the criteria for whatever federal prisoner's circumstances the Director decided to move upon.
         3         The Department of Justice has recognized that, prior to the passage of the First Step Act,
 BOP (and the omission) functionally had final say on what constituted an "extraordinary and compelling
  reason": for sentence reduction, because only BOP could bring a motion under the terms of Section
  3582(c)(l)(A}. See Dept. of Justice, letter to U.S. Sentencing Commission Chairman Hinojosa (July 14,
  2007}(noting that because Congress gave BOP the power to control which particular cases will be
  brought to a court's attention, "it would be senseless (for the Commission] to issue policy statements
 allowing the court to grant such motions on a broader basis than the responsible agency will seek
 them"). Leaving the BOP Director with ultimate authority for triggering and setting the criteria for
 sentence reductions under Section 3582(c)(1)(A)created several problems. The Office of the inspector
 General found that the BOP failed: to provide adequate guidance to staff on the criteria for
 compassionate release, to set time lines for reviewing compassionate release requests, to create formal
 procedures for informing prisoners about compassionate release, and to generate a system for tracking

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  compassionate release requests. See FBOP Compassionate Release Program, at I IV. As a result of these
  problems, the DIG concluded that"BOP does not properly manage the compassionate release program,
  resulting In inmates who may be eligible candidates for release not being considered." ID.; see generally
  Stephen R. Sady & Lynn Deffebach, Second look Resentencing Under 18 U.S.C. Section 3S82(c] as an
  Example of Bureau of Prisons Policies That Result in Over Incarceration, 21FD.Sent RPTR. 167(Feb.
  2009).
           Congress heard those complaints. In late 2018, Congress passed the First Step Act, part of which
  transformed the process for compassionate release under Section 3582(c)(1)(A). See P.L. 115-391,132
 Stat. 5194, at Section 603(Dec.21, 2018). Section 603 of the First Step Act changed the process by
 which Section 3582(c)(1)(A) compassionate release occurs: instead of depending upon the BOP Director
 to determine an extraordinary circumstance and then move for release, a court can now resentence
 "upon motion of the defendant," if the defendant has fully exhausted all administrative remedies,"or
 the lapse of 30 days from the receipt of such a request by the warden of the defendant's facility,
 whichever Is earlier." 18 U.S.C. Section 3582(c)(1)(A). Once the defendant who has properly exhausted
 Administrative Remedy files a motion a court may, after considering the 18 U.S.C. Section 3553(a)
  factors, resentence a defendant, if the court finds that extraordinary and compelling reasons warrant a
  reduction. Id. Any reduction of a sentence that a court orders must also be "consistent with applicable
  policy statements issued by the Sentencing Commission." Id. The effect of these new changes is to allow
  federal judges the ability to move on a prisoner's compassionate release application even in the face of
  BOP opposition or its failure to respond to a prisoner's request for compassionate release in a timely
  manner.

         Congress made these changes in an effort to expand the use of compassionate release sentence
 reductions under Section 3582(c)(1)(A). Congress labeled these changes,"increasing the Use and
 Transparency of Compassionate Release." 164 Cong. Rec. H10346, H10358(2018)(emphasis added).
 Senator Cardin noted in the record that the First Step Act made several reforms to the federal prison
 system, including that "[t]he bill expands compassionate release under the Second Chance Act and
 expedites compassionate release applications." 164 Cong. R. 199, at S7774(Dec. 18, 2018)(emphasis
 added). In the House, Representative Nadler noted that First Step included "a number of very positive
 changes, such as... improving application of compassionate release, and providing other measures to
 improve the welfare of Federal inmates." 164 Cong. Rec. H10346-04,164 Cong. Rec. H10346-04, H10362
 (Dec. 20, 2018)(emphasis added).
         D       Statutory text defines judicial sentence reduction authority around "extraordinary and
 compelling reasons," and the policy statements of the U.S. Sentencing Commission under Section
  1B1.13 do not preclude this Court from resentencing McCoy.
           Once a prisoner has properly pursued administrative remedies and filed a motion for
  compassionate release, a federal court possesses authority to reduce a sentence if and whenever the
  court finds "extraordinary and compelling reasons warrant such a reduction." A court must consider the
  18 U.S.C. Section 3553(a) sentencing factors in reducing any sentence, and any reduction of a sentence
  that a court orders must also be "consistent with applicable policy statements issued by the Sentencing
  Commission." 18 U.S.C. Section 3582(c)(1)(A).
          As noted above, the Sentencing Commission created a catch-all provision for compassionate
  release under U.S.S.G. Section 1B1.13, application note (1)(D), which states: "Other Reasons." As
  determined by the Director of the Bureau of Prisons, there exists in the defendant's case an
  extraordinary and compelling reason other than,or in combination with,the reasons described in
  subdivisions(A) through (C).
      The Commission also stated the process by which compassionate release reductions should be
      decided:



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            Motion by the Director of the Bureau of Prisons. A reduction under this policy statement may b
  granted only upon motion by the Director of the Bureau of Prisons pursuant to 18 U.S.C. Section
  3582(c)(1)(A). U.S.S.G. Section 1B1.13, application note 4. The dependence on BOP In these policy
  statements is a relic of the prior procedure that s now inconsistent with the First Step Act's amendment
  of Section 3582(c)(1)(A). Application note 1(D) can no longer limit judicial authority to cases with an
  initial determination by the BOP Director that a prisoner's case presents extraordinary or compelling
  reasons for a reduction, because the First Step Act has expressed allows courts to consider and grant
  sentence reductions even in the face of an adverse or unresolved BOP determination concerning
  whether a prisoner's case is extraordinary or compelling. See 18 U.S.C. Section 3582(c)(1)(A), as
  amended by P.L 115-391 Section 503(Dec. 21,2018). And the commission's now-dated statement
  indicating that the BOP must file a motion in order for a court to consider a compassionate release
  sentence reduction no longer controls in the face of the new statutory text enacted explicitly to allow a
  court to consider a reduction even in the absence of a BOP motion. ID. with the First Step Act, Congress
  decided that federal judges are no longer constrained or controlled by how the BOP Director sets its
  criteria for what constitutes extraordinary and compelling reasons for a sentence reduction.
  Consequently, those sections of the application notes requiring a BOP determination or notion are not
  binding on courts. See Stinson v. United States. 508 U.S. 36, 38(1993)("We decide that commentary in
  the Guidelines Manual that interprets or explains a guideline is authoritative unless it violates the
  Constitution or a federal statute, or is inconsistent with, or a plainly erroneous reading of, that
  guideline.") Put differently, now that the First step Act has recast the procedural requirements for a
  sentence reduction,even if a court finds there exists an extraordinary and compelling reason for a
  sentence reduction without the BOP Director's initial determination, then the sentence reduction Is not
  inconsistent "with the applicable policy statements issued by the Sentencing Commission." 18 U.S.C.
  Section 3582(c)(1)(A).
           As relevant here, the FIRST STEP ACT Section 603, Congress amended Section 3582(c)(1)(A) to
  permit defendants to move a sentencing court for modification of sentence "after the defendant has
  fully exhausted ail administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on
  the defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the
  defendant's facility, whichever is earlier." Moreover, all Federal District Courts have original jurisdiction
  over "all civil actions arising under the constitution, laws, or treaties of the United States." Title 28 U.S.C.
  Section 1331.
          Key provision of the First Step Act Section 6038 allows Federal Courts to reduce sentences under
  the compassionate release statutory provision of Title 18 U.S.C. 3582(c)(l)(A)(i)for 'extraordinary and
  compelling' reasons without needing a motion from the Bureau of Prisons. Title 28 U.S.C. 994(t), the
  Sentencing Commission was directed to define "the criteria to be applied and a list of specific
  extraordinary and compelling examples." The Commission defined four examples, one medical, one due
  to age, one due to family circumstances, and one catch-ail, that "there exists In the defendant's case an
  extraordinary and compelling reason other than, or in combination with, the reasons described in
  subdivision (A)through (C)."




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                                              SUMMARY OF FAQS


     I.        Conviction and Sentence


         On March 24,2004, Petitioner was convicted of Counts Nine and Forty-Eight of the Indictment,
 both charging him with use of a firearm during a "crime of violence," in violation of 18 U.S.C. Section
 924(c)(1)(A). Counts Nine and Forty-Eight alleged that the underlying "crime of violence" for the Section
 924(c) charge was interference with commerce by robbery, in violation of 18 U.S.C. Section 1951(Hobbs
 act robbery), as set forth In Counts Eight and Forty-Seven, for which he was also convicted.
         On J uly 20,2004, this Court sentenced Petitioner to a term of thirty-seven (37) months
 imprisonment, concurrent,on Counts 8 and 47, plus eighty-four(84) months imprisonment on Count 9,
 and three hundred (300) months imprisonment on Count 48, to be served consecutively to Count Eight.
 Petitioner did not file a direct appeal.[See Exhibit E-1-Judgement In a Criminal Case]

     II.       Section 2255 Motion(s)& Appeal(s)

           A. On November 25,2007, Petitioner filed a Section 22SS motion Case No.2:07-cv-556, which
              the Court dismissed as untimely on February 29,2008. On April 28,2008, Petitioner
              appealed this Court's dismissal of his Motion, to the Fourth Circuit. On September 15, 2008,
              the Fourth Circuit dismissed that appeal Case No.98-6802.
           B. On November 18,2011, Petitioner filed a motion Case No.2:ll-cv-00626, which the Court
              constituted as a second Section 2255 Motion. On May 22, 2012, the Court dismissed
              Petitioner's motion because he failed to obtain the requisite order from the court Circuit
              authorizing him to file a second or successive section 2255 motion. The Court did not
              address the merits of Petitioner's motion, which was dismissed without prejudice to his
              right to move the Fourth Circuit for leave to file a successive section 2255 motion.
           C. On June 22, 2015, Petitioner filed a third section 2255 Motion Case No.2:15-cv-270, which
               was transferred to this Court from the United States District Court for the Central District of
               California, Western Division. On August 5, 2015, Petitioner filed a Motion to Amend. On
               August 28,2016, the Court denied the motion.
           D. On June 27, 2016, Petitioner filed a section 2255 motion Case No.2:16-cv-00384. On October
               31,2016 it was dismissed.
           E. On December 29, 2016, Petitioner filed a notice of Appeal Case No.17-6004. On January 23,
               2020 it was dismissed.


     I.    EXTRAORDINARY AND COMPELLING FRAMEWORD WARRANTING REUEF
           CLARIFICATION OF SECTION 924(C) OF TITLE 18, UNITED STATES CODE

        On December 18'^ 2018 the United States Senate voted 87-12 in favor of the First Step Act. On
  December 20'^ 2018,The House followed suit and in overwhelming fashion voted 358-36 in favor of this
  bill. And finally, on December 2l", 2018 at 1 pm ET, President Donald J. Trump signed this bill Into law.
          Within this legislative package was an amendment to address and ultimately correct what has
  long been known as 924(c)"stacking".
           Section 403 of the First Step Act is entitled: Clarification of Section 924(c) of Title 18, UNITED
 STATES CODE,and This section in pertinence reads;
                  (A) IN GENERAL-Section 924(c)(1)(C) of Title 18, United States Code is amended,in the
                      matter of preceding clause (1), by striking "second or subsequent conviction under

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                        this subsection" and inserting "violation of this subsection that occurs after a prior
                        conviction under this subsection has become final."
          For decades there has been much to debate over whether Congress intended for 924(c)
  offenders to be subjected to enhance recidivist penalties for multiple 924(c) offenses that stemmed
 from the same indictment.
         Via the First Step Act, congress has now clarified what 924(c)(1)(C) was always meant to be.
  More definitively, congress has clarified what the 924(c)(1)(C) was never meant to be.
            Congress deliberately used the word "Clarification" to correct this broken application of 924(c).
  Clarification is defined as: To make clear or easier to understand. Clarification is required only when
 something has been interpreted outside of its intended context.

                                                    REASON(S)

         Petitioner has properly exhausted his claim for a reduction of sentence under the
  compassionate release statute. Petitioner filed a request for a reduction of sentence under the
  compassionate release statute with the warden of Federal Correctional Institution Ashland in Ashland
  Kentucky on February 4'", 2020. The request was speedily denied by the Warden and after a lapse of 30
  days from the date the Warden,the Petitioner submits this motion for this Honorable Court to
  undertake judicial notice regarding proposed reconsideration for judgement.(SEE Exhibit E-10]

      I.        Petitioner Is Sentenced 216 Months OVER What Congress Now Deems Warranted -Due to
                Abrogated Rule of Law.

           On July 20, 2004, this Court sentenced Petitioner to a now abrogated rule of law, while
  expressing "little discretion" on the length of sentence, stating "Congress decided what the punishment
  is." Congress now deems a sentence two hundred (216) months over the intended sentence unjust.[See
  Exhibit E-2- Sentencing Transcripts)
            This clarification was not made retroactive despite the injustice of the Petitioner serving a
  sentence two hundred and sixteen (216) months longer for then Congress now deems warranted for a
  924(c)(1)(C) conviction. On July 20,2004, this Court sentenced the Petitioner while expressing "little
  discretion" on the length of sentence and then stated "Congress decided what the punishment is."[See
  Exhibit E-2-Sentencing Transcripts] Before the Act, a second or subsequent count of conviction under
  section 924(c)(1)(C) triggered a higher mandatory minimum penalty of(300 months], as well as
  mandatory "stacking" of these sentences for the count of conviction. This was so because In Deal v.
  United States. 508 U.S. 129(1993),the Supreme Court held that, even when multiple counts under
  section 924(c) were in the same indictment,the conviction on the first count did not have to be final
  before the mandatory increases and stacking provisions were triggered. Thus, to promote respect for
  standing law, This Petition for Compassionate Release from a three hundred (300) month sentence for
  count Forty-Eight is now deemed harsh and unwarranted by Congress be modified to a correct eighty-
  four(84) months.

      II.       Petitioner Is a First Time Offender with Low Risk of Recidivism


            Petitioner is classified 'Low Risk' for recidivism based of the First Step Acfs risk assessment tool
 ("PATTERN"). Despite a Low Risk, he is considered ineligible for the earned good time signed into taw
 under the First Step Act. Petitioner is a first time offender with a total of 3 incident reports, no incidents
  involving drugs or violence sense incarceration.


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      III.       Petitioner has fulfilled Judicial Recommendation and Extraordinary Rehabilitation &
                 Programing

             A. Petitioner was recommended by this Court to continue his education, get a college degree
                and use his time of incarceration to acquire a trade.[See Exhibit E-2 > Sentencing
                Transcripts)
                          I. Petitioner has completed an Associate of Applied Science in Business
                             Management with Honors;[See Exhibits E»4; E-6;and E-71
                         ii. Petitioner has also completed an Associates of Arts in Social and Behavioral
                             Sciences; and currently in a Bachelors Program in Business Administration;[See
                             Exhibits E-4; E-6;and E-7j
                        iii. Petitioner is currently in a Youth Mentor Program at PCI Ashland,for inmates
                             who were incarcerated under the age of 21 years of age at sentencing;[See
                              Exhibits E-4; and E-9)
                        Iv. Petitioner Is currently in the Office Manager Apprenticeship Program in Unicor;
                            [See Exhibit E-4]
                         V. He has also developed a Mentoring Program of his own titled ('True Father
                            Figures"}, where he is mentoring inmates here at FCI Ashland and planning to
                            have a biog created; and [See Exhibits E-4; and E-9]
                        vl. He consistently completes the qualifying courses and programs accredited by
                            the Act despite not qualifying for the earned good time (Total of 62 courses).
                            [See Exhibits E-4]


      IV.        Petitioner's record of Restitution Payments Is Extraordinary

             A. On July 20,2004, this Court sentenced Petitioner jointly but severely along with 6 other
                codefendants to Restitution Order of a total of $38,209.77. Petitioner has provided
                approximately 30% of entire Restitution Order. As of May 7, 2019 there was a total of $29,
                430.60 collected on Account Code CONV00003905. In the last 7 months, the Petitioner has
                 paid $ 1,375.12 in addition toward the balance owed to date.[See Exhibits E-1; and E-S]


          Petitioner's record of rehabilitation is also extraordinary. He has completed one hundred and
  ninety-six(196) months to date of his standing conviction and sentence. This Congressional Clarification
  of 924(c) would resentence him to two hundred and five (205) months if made retroactive; Thomas has
  completed more then 108% of the intended sentence included earned good-time. The FIRST STEP Act
  (P.L. 115-391) was signed Into law by the President on December 21,2018. Section 403 of the Act
  reduces the severity of the "stacking" of multiple Section 924(c) offenses. Before the Act, a second or
  subsequent count of conviction under section 924(c)(count Forty-Eight) triggered a higher mandatory
  minimum penalty of three hundred (300) months, a reduction In sentence is warranted here by the
  injustice effacing a term of incarceration two hundred and sixteen (216) months longer than Congress
  now deems warranted for the crimes committed.

                                             PROPOSED RELEASE PLAN


             The Petitioner has a well constructed release plan which is build around the guidance of his
  long-time mentor Mr. William R. Brown. Upon release, the Petitioner will be living with his Grandmother

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  Undine G. McCoy, at 1007 Whitehurst Landing Road, Virginia 23464. He will also finish a Masters Degree
  Program in Business. The Petitioner will take the job as book keeper for Mr. Brown as employment. Mr.
  Brown has been apart of the Petitioner's life dating before Incarceration and funded tuition for both
  college degrees and current Grad School Programing. He also looks forward to volunteering with
  relatives and peers in the Youth Football League, mentoring and coach the Virginia Beach Hurricanes.
  The Petitioner, with support of Mr. Brown is also looks to promote his own Mentoring Program and
  advance the McCoy family business "McCoy Electric," in respect and late memory of his grandfather.

                                          STANDARDS FOR REVIEW


          The Petitioner herein acknowledges such pleadings as his are held to a less stringent standard
  than those drafted by attorneys. Therefore, documents filed pro se are "liberally construed" Erickson v.
  Ardus. 551 U.S. 89, 94,127 S. Ct. 2197,167 L. Ed. 2d 1081(2007)(citations omitted).
          This motion is not to relitigate old matters or raise arguments or present evidence that could
  have been raised prior to the entry of judgement. Exxon Shipping v. Baker. 554 U.S. 471,485 n.5,128
  S.C. 2605 171 L. Ed. 2d 370(2008)(quoting 11 Wriaht et. Al, Federal Practice and Procedure Section
  2810, at 127028(2d Ed. 1995).

                                                CONCLUSION


          For the reason(s) stated herein, Petitioner humbly requests that this Honorable Court GRANT
  this MOTION FOR THE COURT TO UNDERTAKE JUDICIAL NTOICE REGARDING PROPOSED
  RECONSIDERATION OF JUDGEMENT. This Court can contact Petitioners previous Appointed Federal
  Defender Ms. Amanda C. Conner for case file and records.


                                                                    Respectfully Submitted,

                                                                    bL
                                                                    Mr. Thomas F. McCoy - Pro S
                                                                    Petitioner




  I hereby declare, under penalty of perjury, that the foregoing Proof of Service is true and correct to the
  best of my knowledge and understanding, pursuant to Title 28 U.S.C. Section 1746.

                                ..A
  Executed and signed on this ^ day of March, 2020.
                                                                                               ly Submitted

                                                                                     Mr. Thomas K McCoy
                                                                                    Petitioner-Pro Se
                                                                                    Regff 55535-083
                                                                                    FCI Ashland
                                                                                    P.O. Box 6001
                                                                                    Ashland, KY 41105

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